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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION
UNITED STATES OF AMERICA,                         )
                                                  )
           Plaintiff(s),                          )
                                                  )
     v.                                           )         No. 4:18-CV-01467-JAR
                                                  )
2016 LAMBORGHINI AVENTADOR,                       )
VIN: ZHWUR1ZDXGLA04692, et al.,                   )
                                                  )
           Defendant(s).                          )


                                                 ORDER

          This matter is before the Court on Claimant Eli Abraham’s Claim and Demand for

Return of Property. (Doc. 9.) At issue is a 2016 Lamborghini Aventador owned by Abraham

by virtue of an auto loan which, according to the parties, has an outstanding balance. (See Doc.

13 at 2.) Abraham has represented to the Court that he “would agree to the forfeiture of the

vehicle provided that the vehicle will be expeditiously sold and the lender is paid.” (Id.)

          On December 28, 2018, the parties filed a Consent Motion for Interlocutory Sale of

Property in which the vehicle will be sold and the proceeds will be put towards the satisfaction

of the lien. (Doc. 20.) On January 2, 2019, the Court entered an order granting that motion and

thereby mooted Abraham’s pending claim. (Doc. 21.)

          Accordingly,

          IT IS HEREBY ORDERED that Claimant Eli Abraham’s Claim and Demand for

Return of Property (Doc. 9), is DENIED as moot.

          Dated this 2th Day of January, 2019.
                                                      ______________ _________________________
                                                      JOHN A. ROSS
                                                      UNITED STATES DISTRICT JUDGE
